Case 19-34054-sgj11             Doc 3861 Filed 06/23/23 Entered 06/23/23 11:35:03                Desc
                                   Main Document    Page 1 of 2



Brent R. McIlwain, TSB 24013140
David C. Schulte TSB 24037456
Christopher Bailey TSB 24104598
Holland & Knight LLP
1722 Routh Street, Suite 1500
Dallas, TX 75201
Tel.: (214) 964-9500
Fax: (214) 964-9501
brent.mcilwain@hklaw.com
david.schulte@hklaw.com
chris.bailey@hklaw.com

COUNSEL TO MUCK HOLDINGS, LLC,
JESSUP HOLDINGS LLC,
FARALLON CAPITAL MANAGEMENT, L.L.C., AND
STONEHILL CAPITAL MANAGEMENT LLC

                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


 In re:                                              Case No. 19-34054 (SGJ)

        Highland Capital Management, L.P. 1          Chapter 11

                             Debtor.                 (Jointly Administered)



   CLAIM PURCHASERS’ JOINDER TO THE HIGHLAND PARTIES’ OBJECTIONS
              AND MOTION TO STRIKE HUNTER MOUNTAIN
              INVESTMENT TRUST’S PURPORTED PROFFER

          Muck Holdings, LLC (“Muck”), Jessup Holdings LLC (“Jessup”), Farallon Capital

Management, L.L.C. (“Farallon”), and Stonehill Capital Management LLC (“Stonehill”, and

collectively, with Muck, Jessup, and Farallon, the “Claims Purchasers”) join and adopt The

Highland Parties’ Objections and Motion to Strike Hunter Mountain Investment Trust’s Purported




    1
        The last four digits of Debtor’s taxpayer identification number are (6725). The headquarters and
service address for Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


#220271494_v6 199408.00013
Case 19-34054-sgj11          Doc 3861 Filed 06/23/23 Entered 06/23/23 11:35:03                Desc
                                Main Document    Page 2 of 2



Proffer [Dkt. No. 3860] (the “Motion”). For the reasons set forth in the Motion, the Claim

Purchasers respectfully request the Court grant the Motion.

         WHEREFORE, the Claims Purchasers respectfully request that the Court grant the Motion

and grant the Claims Purchasers such other and further relief as is just and proper.


Dated: June 23, 2023                          HOLLAND & KNIGHT LLP

                                              By: /s/ Christopher Bailey
                                              Brent R. McIlwain, TSB 24013140
                                              David C. Schulte, TSB 24037456
                                              Christopher Bailey, TSB 24104598
                                              Holland & Knight LLP
                                              1722 Routh Street, Suite 1500
                                              Dallas, TX 75201
                                              Tel.: (214) 964-9500
                                              Fax     (214) 964-9501
                                              brent.mcilwain@hklaw.com
                                              david.schulte@hklaw.com
                                              chris.bailey@hklaw.com

                                              COUNSEL TO MUCK HOLDINGS, LLC,
                                              JESSUP HOLDINGS LLC, FARALLON
                                              CAPITAL MANAGEMENT, L.L.C., AND
                                              STONEHILL CAPITAL MANAGEMENT LLC



                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing was electronically filed with the Clerk

of Court using the CM/ECF system, and served upon all parties receiving notice pursuant to the

CM/ECF system on this the 23th day of June, 2023.


                                                      /s/ Christopher Bailey
                                                      Christopher Bailey




                                                  2
#220271494_v6 199408.00013
